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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON

MALIBU MEDIA, LLC,                                )
                                                  )
       Plaintiff,                                 )   Civil Action Case No. 4:18-cv-00886
                                                  )
v.                                                )
                                                  )
GEORGE PROTOPAPADAKIS,                            )
                                                  )
       Defendant.                                 )
                                                  )

              PLAINTIFF’S MOTION FOR DEFAULT FINAL JUDGMENT

       Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 55, hereby files its Motion for Entry of Default Judgment (“Motion”)

against Defendant, George Protopapadakis (“Defendant”), and in support thereof, states:

        1.       This is a case for copyright infringement arising under United States Copyright Act

 of 1976, as amended, 17 U.S.C. §§ 101 et seq. (the “Copyright Act”).

        2.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 1331 (federal question); and 28 U.S.C. § 1338 (patents, copyrights, trademarks and unfair

 competition).

        3.       Plaintiff used proven IP address geolocation technology which has consistently

 worked in similar cases to ensure that Defendant’s acts of copyright infringement occurred using

 an Internet Protocol address (“IP address”) traced to a physical address located within this

 District, and therefore this Court has personal jurisdiction over defendant because (i) Defendant

 committed the tortious conduct in this State, (ii) Defendant resides in this State, and/or (iii)

 Defendant has engaged in substantial and not isolated business activity in this State.
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          4.   Indeed, Defendant resides in the State of Texas at 5414 Lynngate Drive, Spring,

 TX 77373-8716.

          5.   On March 21, 2018, Plaintiff filed its Complaint in this action [CM/ECF 1].

          6.   On August 23, 2018, Plaintiff filed its Amended Complaint [CM/ECF 17].

          7.   Service of summons and Amended Complaint was obtained as follows [CM/ECF

 31]:

               Defendant                             Date of Service, Type of Service

               George Protopapadakis                 November 7, 2018, Service by Posting

         8.    Pursuant to Texas Rule of Civil Procedure 106(b), a Court may permit alternate

service if service of process has not been successful. Defendant, George Protopapadakis, was

served pursuant to this Court’s order at CM/ECF 28 by posting and certified mail. See Affidavit

of Service CM/ECF 31].

         9.    Defendant has failed to plead or otherwise defend himself against Plaintiff’s

Amended Complaint.

         10.   An order of Default was issued as to Defendant George Protopapadakis on May 10,

2019 [CM/ECF 42].

         11.   Defendant is not a minor or an otherwise incompetent person or in active duty

military service. See Decl. of Paul S. Beik, Esq.

         12.   This Motion is based on the allegations in Plaintiff’s Amended Complaint.

Defendant has admitted all of the facts alleged therein by failing to plead or otherwise respond to

the Amended Complaint. See Nishimatsu Constr. Co. v. Hous. Nat'l Bank, 515 F.2d 1200, 1206

(5th Cir. 1975) (“The defendant, by his default, admits the plaintiff’s well-pleaded allegations of

fact [and] is concluded on those facts by the judgment”).



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       13.     This Motion is further based on the facts attested to in the Declaration of Paul S.

Beik, Esq. and the Memorandum of Points and Authorities in Support of Motion for Entry of

Default Judgment filed contemporaneously herewith, and the record of the proceedings and papers

on file herein. These materials are sufficient to justify the requested relief.

         WHEREFORE, Plaintiff, Malibu Media, LLC, respectfully requests entry of a default

 judgment in favor of Plaintiff and against Defendant, George Protopapadakis, in the form of the

 Proposed Default Judgment and Permanent Injunction attached hereto, and for such other and

 further relief this Court deems just and proper.

       Dated: May 17, 2019

                                                        Respectfully submitted,

                                                        By: /s/ Paul S. Beik
                                                        PAUL S. BEIK
                                                        Texas Bar No. 24054444
                                                        S.D. Tex. ID No. 642213
                                                        BEIK LAW FIRM, PLLC
                                                        8100 Washington Ave., Suite 1000
                                                        Houston, TX 77007
                                                        T: 713-869-6975
                                                        F: 713-868-2262
                                                        E-mail: paul@beiklaw.com
                                                        ATTORNEY FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

        I hereby certify that, on May 17, 2019, I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and
interested parties through this system.

       I further certify that some of the participants in the case are not CM/ECF users. Pursuant
to Local Rule 5.5, I have mailed the foregoing document via U.S. Mail certified mail (return receipt
requested) to the persons set forth in the Service List below.



                                                     By: /s/ Paul S. Beik
                                                     PAUL S. BEIK


Service List
George Protopapadakis
5414 Lynngate Drive
Spring, TX 77373-8716




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